







	









IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






No. PD-1741-07





MAURICE GLENN WILLIS, SR., Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS


TARRANT COUNTY





		Per curiam.


O P I N I O N



	Appellant was convicted of capital murder and filed a motion for DNA testing
pursuant to Chapter 64 of the Texas Penal Code.  The trial court denied this motion. 
Appellant then filed a second motion for DNA testing, which the trial court also denied.  The
Court of Appeals affirmed the denial of the second motion, based in part on the trial court's
finding that identity was not an issue in the case because he committed the murder in the
presence of a third party.  Willis v. State, No. 02-06-091-CR (Tex. App.- Ft. Worth,
September 27, 2007).  Appellant petitioned this Court for discretionary review.

	When the Court of Appeals issued its opinion in this case, it did so without the benefit
of this Court's recent opinion in Blacklock v. State, 235 S.W.3d 231 (Tex. Crim. App. 2007). 
Therefore, we vacate the judgment of the Court of Appeals and remand for that court to
consider the effect of Blacklock, if any, on its reasoning and analysis in this case.



En banc

Delivered: February 13, 2008

Do Not Publish


